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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


TIMOTHY J. RYAN and
CHRISTINE A. RYAN,

                Plaintiffs,
                                                            Case No. 1:03-cv-439
v.
                                                            HON. DAVID W. McKEAGUE
ADELE MCGINN-LOOMIS and
MARY BENEDICT,

            Defendants.
______________________________________/

                      ORDER DENYING MOTIONS TO DISMISS AND
                          AMENDING BRIEFING SCHEDULE

        Defendants Adele McGinn-Loomis and Mary Benedict having each filed a motion to dismiss

plaintiffs’ complaint against them (docket ##12 and 16); and

        The Court having conducted a hearing on the motions on November 24, 2003, and having

then taken the motions under advisement pending limited discovery and supplemental briefing; and

        Plaintiffs having subsequently amended their complaint so as to reorganize and more clearly

state their claims against defendants under 42 U.S.C. § 1983; and

        The original complaint attacked by defendants’ motions to dismiss having thus been

superseded by the amended complaint, and the original motions to dismiss having thus been rendered

at least partially obsolete; and

        Defendants having each, in a one-sentence pleading, responded to the amended complaint

by reasserting their original motions to dismiss (docket ## 45 and 50); and
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       The Court now finding it advantageous to require defendants to reformulate their dispositive

motions, which address matters outside the pleadings, as motions for summary judgment directed

to the amended complaint, instead of merely supplementing their original briefing; now therefore,

       IT IS HEREBY ORDERED that defendants’ motions to dismiss (docket ##12 and 16), as

reasserted (docket ##45 and 50) are DISMISSED without prejudice; and

       IT IS FURTHER ORDERED, consistent with the January 30, 2004 order of Magistrate

Judge Joseph G. Scoville, that the limited discovery authorized shall be completed by March 15,

2004; and

       IT IS FURTHER ORDERED that defendants shall file their anticipated motions for

summary judgment directed to the amended complaint not later than March 29, 2004; plaintiffs shall

file their responses thereto not later than April 19, 2004; and defendants shall file their reply briefs

not later than April 29, 2004; and oral arguments on the motions shall be heard as previously

scheduled on May 10, 2004 at 10:00 a.m.




Dated: February 4, 2003                                 /s/ David W. McKeague
                                                       DAVID W. McKEAGUE
                                                       UNTIED STATES DISTRICT COURT




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